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                                    JOINT EXHIBIT LIST (Defendants' Preliminary List)
           1:21-cv-01073-CMA-NRN; Aaron H. Fleck Revocable Trust, et al. v. First Western Trust Bank et al.
           List all Exhibits by Number and Check the Box if Stipulated as to both Authenticity and Admissiblity

 Exhibit              Description              Stipulated      Admitted     Excluded                 Notes
   1       12/01/18 -12/31/18 Interactive
           Brokers Activity Statement, for
           Barbara Fleck, Dep Ex 01,
           FLECK_007538-7542
   2       4/30/18 Fleck Accts Spreadsheet,
           Dep Ex 02, Fleck_002328

   3       2/3/22 IRS Tax Return Transcript
           for 2018, Dep Ex 03,
           FLECK_007522-7537
   4       2018 Tax Return for Aaron and
           Barbara Fleck, Dep Ex 04,
           FLECK_007103-7165
   5       12/31/18 Barbara Fleck Trust
           Statement for 2018,and July
           2019, Dep Ex 05, Fleck_001721-
           1741
   6       2/27/18 Aaron and Barbara Fleck
           Investment Policy Statement, Dep
           Ex 06, FWTB_0000437-443

   7       5/9/18 Aaron Fleck Trust
           Investment Services and Custody
           Agreement, Dep Ex 07,
           FWTB0000414-419
   8       5/11/18 Godfrey email to Aaron
           Fleck sending FWTB Fee Schedule,
           Dep Ex 08, FWTB_0006891-6892

   9       5/8/18 Fee Schedule Agreement
           for Trusts, Dep Ex 09,
           FWTB_0000426
   10      4/30/19 Aaron Fleck Trust
           Account Statement for April 2019,
           Dep Ex 10, FWTB_0000184-192

   11      4/30/19 Barbara Fleck Trust
           Account Statement for April 2019,
           Dep Ex 11, FWTB_0000001-9

   12      December 2018 Stifel Account
           Statement for Pamela Fleck, Dep
           Ex 12, Fleck 002814-2821




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  13   2019 Tax Return for Aaron and
       Barbara Fleck, Dep Ex 13,
       FLECK_000252-327
  14   12/13/21 Defendants' Responses
       to First Discovery Requests, Dep
       Ex 14
  15   5/15/19 Godfrey email to Aaron
       Fleck sending 4Q18 Report, Dep
       Ex 15, FWTB0007382-7387

  16   4/16/21 Notice of Removal, Dep
       Ex 16
  17   5/20/19 Bantis FWTB email re
       Aaron Fleck timetable and
       chronology, Dep Ex 17,
       FWTB_0007733-7753
  18   11/12/21 Plaintiffs' Responses to
       First RFP's and Rogs, Dep Ex 18

  19   1/27/22 Plaintiffs' Responses to
       Second RFP's and Rogs, Dep Ex 19

  20   3/2/22 Second Am. Notice of
       Deposition of FWTB, Dep Ex 20

  21   December 2018 Aaron Fleck Trust
       Statement, Dep Ex 21,
       FLECK_000003-38
  22   May 2018 Barabara Fleck Trust
       Statement, Dep Ex 21,
       FWTB_0000112-129
  23   May 2018 Aaron Fleck Trust
       Statement, Dep Ex 23,
       FWTB_000300-318
  24   May 2019 Aaron Fleck Trust
       Statement, Dep Ex 23,
       FWTB_000319-329
  25   May 2019 Barabara Fleck Trust
       Statement, Dep Ex 25,
       FWTB_0000130-139
  26   April 2019 Aaron Fleck Trust
       Statement, Dep Ex 26,
       FWTB_000184-192
  27   3/24/22 Report of Plaintiffs'
       Expert Joseph Rulison, Dep Ex 27

  28   1/18/65 Buffet Partnership Letter,
       Dep Ex 28
  29   2021 IRS Instructions for Schedule
       D, Dep Ex 29


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  30   5/18/19 Parametric Article "Is Tax-
       Loss Harvesting Right for Your
       Clients?" Dep Ex 31
  31   2/27/19 Godfrey email to Aaron
       Fleck sending Portfolio Appraisals
       and Performance Reports, Dep Ex
       32, FWTB_0006618 -6632


  32   February 2019 Aaron Fleck Trust
       Statement, Dep Ex 33,
       FWTB_000226-239
  33   3/24/22 Report of Defendants'
       Expert Robert Reidy, Dep Ex 34
  34   February 2019 Barbara Fleck
       Trust Statement, Dep Ex 34,
       FWTB_0000041-54
  35   4/14/22 Rebuttal Report of
       Defendants' Expert Robert Reidy,
       Dep Ex 35
  36   3/23/17 Email Chain re meeting
       to discuss accounts, MPSJ Ex 2,
       FWTB_0007232-7233

  37   4/26/17 Barker email to Aaron
       Fleck re meeting in person, MPSJ
       Ex 3, Fleck_001611
  38   5/9/18 New Account Information
       Form, MPSJ Ex 10,
       FWTB_0000432-436, 3989
  39   [illegible date] Citi Account
       Transfer Forms, MPSJ Ex 12,
       FWTB_0003974-3975
  40   2018.05 Account Statement
       Aaron, FWTB_0000300
  41   2018.05 Account Statement Barb
       FWTB_0000112
  42   2018.06 Account Statement
       Aaron, FWTB_0000271
  43   2018.06 Account Statement Barb,
       FWTB_0000085
  44   2018.06.30 Quarterly
       Performance Report,
       FWTB_0005167
  45   2018.07 Account Statement Barb,
       FWTB_0000068
  46   2018.07 Account Statement Barb,
       FWTB_0000254
  47   2018.08 Account Statement
       Aaron, FWTB_0000193


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  48   2018.08 Account Statement Barb,
       FWTB_0000010
  49   2018.09 Account Statement
       Aaron, FWTB_0000362
  50   2018.09 Account Statement Barb,
       FWTB_0000170
  51   2018.09.30 Quarterly
       Perfromance Report,
       FWTB_0005172
  52   2018.10 Account Statement
       Aaron, FWTB_0000346
  53   2018.10 Account Statement Barb,
       FWTB_0000155
  54   2018.11 Account Statement
       Aaron, FWTB_0000330
  55   2018.11 Account Statement Barb,
       FWTB_0000140
  56   2018.12 Account Statement
       Aaron, FWTB_0000207
  57   2018.12 Account Statement Barb,
       FWTB_0000024
  58   2018.12.31 Quarterly
       Performance Report,
       FWTB_0005177
  59   2019.01 Account Statement
       Aaron, FWTB_0000240
  60   2019.01 Account Statement Barb,
       FWTB_0000055
  61   2019.02 Account Statement
       Aaron, FWTB_0000226
  62   2019.02 Account Statement Barb,
       FWTB_0000041
  63   2019.03 Account Statement
       Aaron, FWTB_0000290
  64   2019.03 Account Statement Barb,
       FWTB_0000103
  65   2019.03.31 Quarterly Report re
  66   2019.04 Account Statement
       Aaron, FWTB_0000184
  67   2019.04 Account Statement Barb,
       FWTB_0000001
  68   2019.05 Account Statement
       Aaron, FWTB_0000319
  69   2019.05 Account Statement Barb,
       FWTB_0000130
  70   2019.05.06 FWTB gains and losses
       for Aaron Fleck_000971
  71
       2019.05.06 FWTB gains and losses
       for Barbara Fleck_001101


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  72   2019.06 Account Statement
       Aaron, FWTB_0000285
  73   2019.06 Account Statement Barb,
       FWTB_0000098
  74   2019.07 Account Statement
       Aaron, FWTB_0000268
  75   2019.07 Account Statement Barb,
       FWTB_0000082
  76   2008.12 Deutsche Bank Account
       Fleck_006639
  77   2017.06.14 Sankey email
       FWTB_0007263
  78   2018.05.11 Godfrey to Aaron re
       allocationFWTB_0006891
  79   2018.05.21 Godfrey to Aaron re
       funds FWTB_0006605
  80   2018-2019 Barbara Trust
       Transaction Summary
       FWTB_0011485
  81   2018-2019 Commission Form
       FWTB_0005557
  82   2018-2019 Spreadsheet of Fleck
       Accounts FWTB_0011486
  83
       2019.01.11 Godfrey email re 115k
       per month FWTB_0007137
  84   2019.02.06 Quarterly review
       FWTB_0006273
  85   2019.03.19 Godfrey Email re
       meeting FWTB_0002591
  86   2019.03.19 QIR, FWTB_0005466
  87   2019.03.29 Barker email re
       performance FWTB_0007347
  88
       2019.04.15 Godfrey to Fleck with
       statements FWTB_0006756
  89   2019.04.15 meeting summary
       FWTB_0002437
  90   2019.04.15 Notes,
       FWTB_0000460
  91   2019.04.15 Summary,
       FWTB_0000555
  92   2019.04.22 Dreher Capital Loss
       Analysis FWTB_0002382
  93   2019.05.15 Godfrey to Fleck re
       4Q18 FWTB_0007382
  94   2019.05.16 Godfrey to Fleck re
       acount performance
       FWTB_0006708



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  95    2019.05.20 Notes,
        FWTB_0000461
  96    2019.07.25 Barker to Flecks re
        reports FWTB_0000610
  97    2019.12.18 Nichols re taking
        losses Fleck_006631
  98    Andrew Godfrey notes,
        FWTB_0004976
  99    June 15 Handwritten Notes
        FWTB_0005160
  100   May 2017 meeting
        FWTB_0006274




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